
OPINION OF THE COURT
PER CURIAM.
The Defendant was charged with careless driving and driving under the influence. At trial, the defendant made a motion to suppress which *34was denied and he “waived jury trial” by affixing his signature and by a box indicating waiver being checkmarked in open court. After a finding of guilt, the court granted a new trial for having not allegedly conducted a colloquy as to whether waiver was freely and voluntarily given. This appeal followed.
There is no legal requirement for the court to inquire as to whether a written waiver was given freely and voluntarily. Dumas v State, 439 So.2d 246, 251 (Fla. 3d DCA 1983).
The rulings of the lower court, granting a new trial, is reversed with instructions to reinstate the original verdict.
REVERSED and REMANDED.
